                             UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION


In re:                                                    )   Chapter 11
                                                          )
Squirrels Research Labs LLC et al.,1                      )   Case No. 21-61491
                                                          )   (Request for Joint Administration Pending)
                          Debtors.                        )
                                                          )   Judge Russ Kendig


                                      CERTIFICATE OF SERVICE

         I, Julie K Zurn, hereby certify that on November 23, 2021 true and correct copies of the

following:

         1.       Motion for Joint Administration of Chapter 11 Cases Pursuant to Bankruptcy
                  Rule 1015(b);

         2.       Motion of Debtors for Interim and Final Orders: (I) Authorizing the Midwest Data
                  Company LLC to Obtain Debtor in Possession Financing; (II) Modifying the
                  Automatic Stay; (III) Approving DIP Loan and Security Agreement with
                  Instantiation LLC; (IV) Setting Final Hearing; and (V) Granting Related Relief;

         3.       Motion of Debtor and Debtor-In-Possession, the Midwest Data Company LLC,
                  For a Final Order: (A) Prohibiting Utilities From Altering, Refusing or
                  Discontinuing Services to, or Discriminating Against, the Debtor on Account of
                  Prepetition Invoices; (B) Determining That the Utilities are Adequately Assured
                  of Future Payment; and (C) Establishing Procedures For Determining Requests
                  For Additional Assurance;

         4.       Motion of Debtors and Debtors-In-Possession For an Order (A) Scheduling
                  Expedited Hearing on Certain First Day Motions and (B) Approving Form and
                  Manner of Notice Thereof;

         5.       Motion for an Order: (A)(I) Establishing and Approving Bid Procedures Related
                  to the Sale of Certain of the Debtors' Assets Pursuant to 11 U.S.C. § 105(A),
                  Including the Designation of Stalking Horse Bidder and Related Bid Protections;
                  (II) Approving Contract/Lease Assumption and Assignment Procedures and the
                  Form and Notice Thereof; (III) Scheduling the Auction; (IV) Scheduling a
                  Hearing and Objection Deadline with Respect to the Sale; (V) Approving the
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  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Squirrels Research Labs LLC (9310), case no. 21-61491 and The Midwest Data Company LLC (1213),
case no. 21-61492.
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                           Form and Notice Thereof; and (VI) Granting Related Relief; and (B)(I)
                           Authorizing Sale of Debtors' Assets Free and Clear of Liens, Claims,
                           Encumbrances, and Interests Pursuant to 11 U.S.C. §§ 105 and 363; and (II)
                           Approving Assumption and Assignment of Executory Contracts and Unexpired
                           Leases; and (C) Granting Related Relief;

               6.          Motion to Shorten Time to Respond to, and Expedite the Hearing on the Motion
                           for an Order: (A)(I) Establishing and Approving Bid Procedures Related to the
                           Sale of Certain of the Debtors' Assets Pursuant to 11 U.S.C. § 105(A), Including
                           the Designation of Stalking Horse Bidder and Related Bid Protections; (II)
                           Approving Contract/Lease Assumption and Assignment Procedures and the Form
                           and Notice Thereof; (III) Scheduling the Auction; (IV) Scheduling a Hearing and
                           Objection Deadline with Respect to the Sale; (V) Approving the Form and Notice
                           Thereof; and (VI) Granting Related Relief; and (B)(I) Authorizing Sale of
                           Debtors' Assets Free and Clear of Liens, Claims, Encumbrances, and Interests
                           Pursuant to 11 U.S.C. §§ 105 and 363; and (II) Approving Assumption and
                           Assignment of Executory Contracts and Unexpired Leases; and (C) Granting
                           Related Relief; and

               7.          Declaration of David Stanfill in Support of First Day Filings

were served by Federal Express Priority Overnight mail, on the following:


AEP Ohio                                       Andrew Waters                               Bittware/Molex LLC
301 Cleveland Ave., SW                         6653 Main Street                            2222 Wellington Ct
Canton, OH 44702                               Williamsville, NY 14221                     Lisle, IL 60532



CliftonLarsonAllen LLP                         CT Data LLC                                 Everhart Glass Co., Inc.
Attn: Daniel Riemenschneider                   133 River Road                              Attn: Linda Monigold
4334 Munson St., NW, Suite 200                 Mystic, CT 6355                             207 Ninth St., SW
Canton, OH 44718                                                                           Canton, OH 44702


Everstream                                     Federal Express                             Hailu Looyestein
1228 Euclid Ave #250                           FedEx Corporate Services                    Schout Coxstraat 1
Cleveland, OH 44115                            3965 Airways Blvd, Module G, 3rd FL.        5421GJ Gemert
                                               Memphis, TN 38116-5017                      NETHERLANDS


Internal Revenue Service                       Internal Revenue Service                    IPS Assembly Corp.
2970 Market St.                                Insolvency Group 6                          Attn: Perry Sutariya
Philadelphia, PA 19104                         1240 E. Ninth Street, Room 493              12077 Merriman Rd
                                               Cleveland, OH 44199                         Livonia, MI 48150


Jason Price                                    Metal Masters                               Michael Maranda
67 Bartram Trail                               Attn: Bret Kettlewell                       38 Oaklawn Ave.
Brunswick, GA 31523                            125 Williams Dr                             Farmingville, NY 11738
                                               Dover, OH 44622



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Office of the U.S. Trustee                  Office of U.S. Attorney                  Ohio Attorney General
201 Superior Ave. East, Suite 441           Attn: Bankruptcy Section                 Collections Enforcement Section
H.M. Metzenbaum US Courthouse               Carl B. Stokes U.S. Court House          Attn: Bankruptcy Unit
Cleveland, OH 44114-1234                    801 W. Superior Avenue, Ste 400          30 E. Broad Street, 14th Floor
                                            Cleveland, OH 44113                      Columbus, OH 43215


Ohio Bureau of Workers' Compensation        Ohio Department of Job & Family Svcs     Ohio Department of Taxation
Attn: Law Section Bankruptcy Unit           Attn: Legal Support-Bankruptcy           Attn: Bankruptcy Division
30 W. Spring St.                            30 E. Broad St., 31st Fl,                30 E. Broad St., 21st Fl
Columbus, OH 43215-0567                     Columbus, OH 43215                       Columbus, OH 43215



Phillippe Germain                           Sam Adams                                Samtech
102 W. Service Rd., #2153466                3417 Bush Street                         20 Park E. Blvd.
Champlain, NY 12919                         Stevens Point, WI 54481                  New Albany, IN 47150




Steven Turnshek                             Trevor Steinle                           William Paden
13 Krist Glen Dr.                           24106 SE 42nd St.                        205 Plains Rd.
Swissvale, PA 15218                         Sammamish, WA 98029                      Westford, VT 05494




Donald Ruffatto                             Jose A. Rubio                            Mark D'Aria
420 Fairview Ave.                           15925 Hopper Lane                        165 Quaker Path
Arcadia, CA 91007                           San Diego, CA 92127                      East Setauket, NY 11733




       Dated: November 23, 2021                                Respectfully submitted,

                                                               /s/ Julie K. Zurn
                                                               Marc B. Merklin (0018195)
                                                               Julie K. Zurn (0066391)
                                                               BROUSE McDOWELL, LPA
                                                               388 S. Main Street, Suite 500
                                                               Akron, Ohio 44311
                                                               Telephone: (330) 535-5711
                                                               Facsimile: (330) 253-8601
                                                               mmerklin@brouse.com
                                                               jzurn@brouse.com

                                                               Proposed Counsel for the Debtor and
                                                               Debtor-in-Possession
       [1361499]




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